                  Case 22-10584-CTG             Doc 1086         Filed 12/27/23        Page 1 of 4




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:
                                                                 Chapter 11
                                                            1
FIRST GUARANTY MORTGAGE CORP., et al,
                                                                 Bankr. Case No. 22-10584 (CTG)
                                   Debtors.                      (Jointly Administered)


LORI BUCKLEY, GAYLE ZECH, ROBERTA
MARTINEZ, JENNIFER JACKSON and JAMES
DAVIES, on behalf of themselves and all others
similarly situated,                                                      Adv. Pro. No. 22-50387-CTG

                                   Plaintiff,

                  v.

FIRST GUARANTY MORTGAGE CORP., et al.,

                                   Debtors.

            NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
           ON DECEMBER 29, 2023 AT 1:00 P.M. (PREVAILING EASTERN TIME)
            BEFORE THE HONORABLE CRAIG T. GOLDBLATT IN THE U.S.
                 BANKRUPTCY COURT, 824 NORTH MARKET STREET,
             3rd FLOOR, COURTROOM 7, WILMINGTON, DELAWARE 19801




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  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The Debtors’
 mailing address is 13901 Midway Road, Ste. 102-334, Dallas, TX 75244.



 DE:4870-5951-0168.1 28311.001
               Case 22-10584-CTG          Doc 1086     Filed 12/27/23    Page 2 of 4




     This hearing will take place in-person. All participants at an in-person hearing are
  required to attend in person, except that remote participation at an in-person hearing is
   permitted for: (i) counsel for a party or a pro se litigant that files a responsive pleading
   and intends to make only a limited argument; (ii) a party or a representative of a party
    that has not submitted a pleading but is interested in observing the hearing; (iii) any
       party that is proceeding, in a claims allowance dispute, on a pro se basis; or (iv)
   extenuating circumstances that warrant remote participation as may be determined by
                                           the Court.

                      Please use the following link to register for this hearing:

 https://debuscourts.zoomgov.com/meeting/register/vJItcO-urzMrEvofnGlTqpl6wgta86wCfzI

      After registering your appearance by Zoom, you will receive a confirmation email
                      containing information about joining the hearing.


ADJOURNED MATTER:

1)      Liquidating Trustee's Motion for Order and Final Decree Closing Chapter 11 Cases and
        Granting Related Relief (Filed December 8, 2023) [Docket No 1065]

        Response Deadline: December 22, 2023 at 4:00 pm. (Extended for Fannie Mae, Freddie
        Mac and Ginnie Mae)
        Responses Received: None to Date
        Related Documents:
        Status: This matter is adjourned to the next to-be scheduled omnibus hearing.


MATTER UNDER CNO/COC:

2)      Joint Motion Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P. 7023 and 9019 to (I)
        Approve a Settlement Pursuant to Fed. R. Bankr. P. 9019, (II) Preliminarily Approve the
        Settlement Pursuant to Fed. R. Bankr. P. 7023, (III) Approve the Form and Manner of
        Settlement Notice to Class Members, (IV) Schedule a Fairness Hearing to Consider Final
        Approval of the Settlement, (V) Finally Approve the Settlement Pursuant to Fed. R.
        Bankr. P. 7023 after the Fairness Hearing, and (VI) Grant Related Relief (Filed
        November 20, 2023) [Docket No 1041, Adv. Docket No. 32]

        Response Deadline: December 26, 2023 at 5:00 p.m.
        Responses Received: None




DOCS_DE:245616.2 28311/001                        2
               Case 22-10584-CTG         Doc 1086     Filed 12/27/23     Page 3 of 4




        Related Documents:
        (A)      Joint Motion for Entry of an Order Shortening the Notice Period with Respect to
                 the Joint Motion Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P. 7023 and
                 9019 to (I) Approve a Settlement Pursuant to Fed. R. Bankr. P. 9019, (II)
                 Preliminarily Approve the Settlement Pursuant to Fed. R. Bankr. P. 7023, (III)
                 Approve the Form and Manner of Settlement Notice to Class Members, (IV)
                 Schedule a Fairness Hearing to Consider Final Approval of the Settlement, (V)
                 Finally Approve the Settlement Pursuant to Fed. R. Bankr. P. 7023 after the
                 Fairness Hearing, and (VI) Grant Related Relief (Filed November 20, 2023)
                 [Docket No 1042; Adv. Docket No. 33]

        (B)      Order [Signed] Shortening the Notice Period with Respect to the Joint Motion
                 Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P. 7023 and 9019 to (I) Approve
                 a Settlement Pursuant to Fed. R. Bankr. P. 9019, (II) Preliminarily Approve the
                 Settlement Pursuant to Fed. R. Bankr. P. 7023, (III) Approve the Form and
                 Manner of Settlement Notice to Class Members, (IV) Schedule a Fairness Hearing
                 to Consider Final Approval of the Settlement, (V) Finally Approve the Settlement
                 Pursuant to Fed. R. Bankr. P. 7023 after the Fairness Hearing, and(VI) Grant
                 Related Relief (Filed November 20, 2023) [Docket No. 1044, Adv. Docket No.
                 34]

        (C)      Notice of Hearing on Joint Motion Pursuant to 11 U.S.C. § 105 and Fed. R.
                 Bankr. P. 7023 and 9019 to (I) Approve a Settlement Pursuant to Fed. R. Bankr.
                 P. 9019, (II) Preliminarily Approve the Settlement Pursuant to Fed. R. Bankr. P.
                 7023, (III) Approve the Form and Manner of Settlement Notice to Class
                 Members, (IV) Schedule a Fairness Hearing to Consider Final Approval of the
                 Settlement, (V) Finally Approve the Settlement Pursuant to Fed. R. Bankr. P.
                 7023 after the Fairness Hearing, and (VI) Grant Related Relief (Filed November
                 21, 2023) [Docket No. 1046, Adv. Docket No.35]

        (D)      Order Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P. 7023 and 9019 (I)
                 Preliminarily Approving the Settlement Agreement, (II) Approving the Form and
                 Manner of Notice to Class Members of the Settlement, (III) Scheduling a Fairness
                 Hearing to Consider Final Approval of the Settlement Agreement, and (IV)
                 Granting Related Relief (Filed November 29, 2023) [Docket No. 1058]

        (E)      Notice of Hearing on Joint Motion Pursuant to 11 U.S.C. § 105 and Fed. R.
                 Bankr. P. 7023 and 9019 to (I) Approve a Settlement Pursuant to Fed. R. Bankr.
                 P. 9019, (II) Preliminarily Approve the Settlement Pursuant to Fed. R. Bankr. P.
                 7023, (III) Approve the Form and Manner of Settlement Notice to Class
                 Members, (IV) Schedule a Fairness Hearing to Consider Final Approval of the
                 Settlement, (V) Finally Approve the Settlement Pursuant to Fed. R. Bankr. P.
                 7023 after the Fairness Hearing, and (VI) Grant Related Relief (Filed November
                 29, 2023) [Docket No. 1059, Adv. Docket No.39]

        Status: The Liquidating Trustee anticipates submitting the proposed order under CNO or
        COC prior to the hearing.


DOCS_DE:245616.2 28311/001                       3
               Case 22-10584-CTG   Doc 1086      Filed 12/27/23   Page 4 of 4




   Dated: December 27, 2023             PACHULSKI STANG ZIEHL & JONES LLP


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DOCS_DE:245616.2 28311/001               4
